

People v Everett (2019 NY Slip Op 09242)





People v Everett


2019 NY Slip Op 09242


Decided on December 20, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2019

PRESENT: WHALEN, P.J., SMITH, CENTRA, PERADOTTO, AND CARNI, JJ. (Filed Dec. 20, 2019.)


KA 17-01338.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, APPELLANT, V
vJALEN EVERETT, DEFENDANT-RESPONDENT. 

Motion to dismiss granted. Memorandum: The matter is remitted to Monroe County Court to vacate the judgment of conviction and dismiss the indictment (see People v Matteson , 75 NY2d 745 [1989]).








